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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF GEORGIA
                              AUGUSTA DIVISION


 DEMARCUS WHITAKER,                     *
                                        *


       Plaintiff,                       *

               V.                       *              CV 118-141
                                        *


THE BOARD OF REGENTS OF THE             *
UNIVERSITY SYSTEM OF GEORGIA,           *
et al.,                                 *
                                        *


       Defendants.                      *




                                  ORDER




      Plaintiff DeMarcus Whitaker, proceeding pro se, filed this

action on August 31, 2018.       (Compl., Doc. 1.)     Defendants The Board

of   Regents    of   the   University   System   of   Georgia,   Keel,   Reed,

Thurman, Byrdson, Wear, Boehmer, and Woods ("Moving Defendants")

filed a motion to dismiss (Doc. 18), Plaintiff filed a response

(Docs. 21, 22-1), and Moving Defendants filed a reply (Doc. 23).

In his response. Plaintiff moved to amend his Complaint.^                 (Br.

Resp. to Mot. to Dismiss, at 24-25.)         Under Federal Rule of Civil

Procedure 15(a), "The court should freely give leave [to amend]




^ Plaintiff states, "I would like to amend [my Complaint] after the motion to
dismiss has been decided." (Br. Resp. to Mot. to Dismiss, Doc. 22-1, at 25.)
The Court, however, construes this request as Plaintiff moving to amend the
Complaint before the motion to dismiss has been decided. Although motions to
amend the Complaint embedded within an opposition brief are generally
insufficient for counseled parties, the Court accepts Plaintiff's request
because he is proceeding pro se. Compare Rosenberg v. Gould, 554 F.3d 962, 967
(11th Cir. 2009), with Rivas v. Bank of N.Y. Mellon, 676 F. App'x 926, 931 n.4
(llth Cir. 2017).
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when justice so requires."                 No defendant raises an objection to

Plaintiff's      request        to      amend       his     Complaint.             Upon   due

consideration,      the    Court      permits Plaintiff leave               to amend      his

Complaint.       Plaintiff          must    file    the     amended    complaint       within

FIFTEEN (15) DAYS from the date of this Order.                           Having granted

Plaintiff an opportunity to amend his Complaint, the Court DENIES

AS MOOT Defendant's motion to dismiss (Doc. 18).

      The Court also directs Plaintiff to heed the following notice.

As   it   stands.    Plaintiff's            Complaint        amounts    to     a     ^^shotgun

pleading."      The Eleventh Circuit has identified four types of

shotgun pleadings, and Plaintiff's Complaint fits three.                              Weiland

V. Palm Beach Cty. Sheriff's Office, 792 F.3d 1313, 1321-23 (11th

Cir. 2015).     First, Plaintiff's Complaint commits the ''mortal sin"

of   "containing     multiple         counts        where    each     count    adopts     the

allegations of all preceding counts, causing each successive count

to carry all that came before and the last count to be a combination

of the entire complaint."                  Id. at 1321-22.          Second, Plaintiff's

112-page     Complaint         is    "replete       with     conclusory,       vague,     and

immaterial facts not obviously connected to any particular cause

of   action."     Id.     at    1322.        Third,    pertaining      to     some    counts.

Plaintiff is guilty "of asserting multiple claims against multiple

defendants      without        specifying          which    of   the    defendants        are

responsible for which acts or omissions, or which of the defendants

the claim is brought against."                Id. at 1323.
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       As pointed out by Moving Defendants, the Court is not required

  to ^'sift through the facts presented and decide for itself which

  [are]    material      to    the    particular    cause    of   action    asserted."

  Beckwith v. Bellsouth Telecomms., Inc., 146 F. App'x 368, 372 {11th

  Cir. 2005) (quotation omitted).              To complicate matters further, in

  his response. Plaintiff seems to allege that certain state law

  counts in the Complaint are also part of other federal law counts.

  (Br. Resp. Mot. to Dismiss, at 10-12; Reply Supp. Mot. to Dismiss,

  Doc. 23, at 2-3.)            In the motion to dismiss. Moving Defendants

  observe that certain claims are ^Mifficult to completely follow"

  and cite cases describing shotgun pleadings.                    (Br. Supp. Mot. to

  Dismiss, Doc. 18-1, at 7, 9; see also id. at 2 n.2, 3.)

          The   Eleventh      Circuit    ^'ha[s]   little   tolerance      for   shotgun

  pleadings."         Arrington v. Green, 757 F. App'x 796, 797 (11th Cir.

  2018) (quotation omitted).             '''When faced with a shotgun pleading,

  a district court must sua sponte give the plaintiff at least one

  chance to replead a more definite statement of [his] claims before

  dismissing [his] case with prejudice." Embree v. Wyndham Worldwide

  Corp.,         F. App'x            , 2019 WL 3183632, at *4 (11th Cir. 2019)

' (citing Vibe Micro, Inc. v. Shabanets, 878 F.3d 1291, 1296 (11th

  Cir. 2018)).         The Court considers Plaintiff's present opportunity

  to amend his Complaint as his one chance to replead a more definite

  statement      of    his    claims.     In   repleading,    the   Court    instructs

  Plaintiff      to:    (1)    clearly    delineate   which   factual      allegations
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pertain to each claim, (2) clarify the defendants against whom

each claim is brought, (3) describe the alleged actions taken by

specific defendants in support of each claim, and (4) separate

each claim of relief based on a discrete theory or series of facts

into different counts.


      Lastly, the Court finds it proper to dismiss three defendants.

First, Plaintiff has withdrawn his claims against Brooks Keel and

Robert Boehmer.          (Br. Resp. to Mot. to Dismiss, at 24.)          Thus, the

Court DISMISSES WITHOUT PREJUDICE this action as against Brooks

Keel and Robert Boehmer.              Second, Plaintiff failed to properly

serve James Rush, and the ninety-day window to effect service has

expired.      Fed. R. Civ. P. 4 (m).     Plaintiff attempted to serve James

Rush by leaving the summons with an individual who is designated

by   law     to    accept   service    of    process    on   behalf   of   Augusta

University.        (Doc. 17, at 1.)     Service in this manner, however, is

ineffective.        See Fed R. Civ. P. 4(e); O.C.G.A. § 9-11-4(e)(7); see

also McDuffie v. DeKalb Cty. Police Dep^t, No. 1:16-CV-1430-WSD,

2016 WL 7239954, at *6 (N.D. Ga. Dec. 15, 2016).                Plaintiff's pro

se status is not an excuse for failure to serve Mr. Rush.                  Anderson

V. Osh Kosh B'Gosh, 255 F. App'x 345, 348 n.4 (11th Cir. 2006)

(citing McNeil v. United States, 508 U.S. 106, 113 (1993)).                       In

addition,         when   insufficient       service    was   raised   by     Moving

Defendants in the motion to dismiss (Mot. to Dismiss, Doc. 18, at

1    n.l).    Plaintiff — rather       than    show    the   existence     of   good
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cause — responded that he effected proper service {Resp. to Mot.

to Dismiss, Doc. 21, at 1 n.l).      See Fed. R. Civ. P. 4 (m).   For the

foregoing   reasons, the   Court DISMISSES WITHOUT PREJUDICE this

action as against Mr. Rush.     The Clerk is directed to TERMINATE as

defendants Brooks Keel, Robert Boehmer, and James Rush.

     ORDER ENTERED at Augusta, Georgia, this /^T^day of
September, 2019.


                                 j. ranMJ/hall, qwief judge
                                  UNITED jK-ATES DISTRICT COURT
                                  SOUTHE^ DISTRICT OF GEORGIA
